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                                                              April 21, 2022
 VIA EMAIL AND ECF

 The Honorable Tonianne J. Bongiovanni
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

            Re:       UMG Records, Inc., et al. vs. RCN Telecom Services, LLC, et al.
                      Civil Action No. 3:19-cv-17272-MAS-TJB

 Dear Judge Bongiovanni:

         This firm, Jenner & Block LLP, and Stein Mitchell Beato & Missner LLP jointly
 represent Plaintiffs in the above-referenced action. We write in response to the spreadsheet that
 Defendants RCN Telecom Services, LLC, et al. (collectively, “RCN”) submitted to the Court ex
 parte on April 15, 2022, as well as the letter RCN filed on the public docket the same day. See
 ECF 210. Plaintiffs understand that the Court does not presently intend to consider these
 materials in resolving Plaintiffs’ objections to RCN’s privilege assertions, and instead intends to
 rely only on the letter briefs the parties previously filed and the documents RCN was required to
 submit for an in camera review. Plaintiffs respectfully submit this letter only so that the Court is
 aware of Plaintiffs’ positions in the event the Court chooses to consider RCN’s most recent
 submissions. In that circumstance, Plaintiffs submit that RCN’s April 15 letter provides no basis
 to limit the production of documents RCN has improperly withheld and request that the Court
 not consider the spreadsheet when conducting its in camera review.

         In its Letter Order dated March 8, 2022 (the “Order”), the Court determined that there
 were facts “calling into question” RCN’s withholding of documents on the alleged basis of
 attorney-client privilege. ECF 205 at 12. Accordingly, the Court permitted Plaintiffs to select 30
 entries from RCN’s privilege log and compelled RCN “to produce the documents to the Court
 for an in camera review.” Id. The Order did not permit RCN to make any additional arguments
 about its privilege assertions. Nevertheless, on the same day RCN was required to produce the
 documents Plaintiffs selected, it filed its April 15 letter and indicated that it had included with
 the documents “a spreadsheet that lists the selected documents and the nature of RCN’s privilege
 claims.” ECF 210 at 1.




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         Because the spreadsheet constitutes unauthorized ex parte argument about RCN’s
 privilege assertions, the Court should ignore the spreadsheet and base its review on the
 documents themselves and the descriptions of those documents on RCN’s privilege log. As an
 initial matter, RCN did not affirmatively disclose its spreadsheet to Plaintiffs. Plaintiffs became
 aware of the spreadsheet only because RCN referenced it in its letter filed on the public docket.
 And Plaintiffs obtained a copy of the spreadsheet only because they demanded that RCN provide
 one. More importantly, the information in RCN’s spreadsheet differs from the privilege
 assertions RCN made in its privilege log. In particular, the spreadsheet includes a column titled
 “In Camera Review Description” that makes different representations about the documents at
 issue than were previously disclosed to and addressed by Plaintiffs. Thus, it cannot be disputed
 that RCN created the spreadsheet to make additional arguments to the Court after Plaintiffs made
 their document selections that Plaintiffs would have no ability to address. Accordingly, the
 Court should limit its in camera review only to the documents it required RCN to produce and
 the descriptions of those documents in the privilege log RCN served on Plaintiffs.

         RCN’s gamesmanship must also be viewed in light of its ongoing efforts to misuse the
 attorney-client privilege to hide material and relevant evidence. As the Court may remember,
 RCN argued that it should not be ordered to search and collect responsive documents from the
 custodial email file of its CEO, Jim Holanda, because Mr. Holanda lacked sufficient personal
 knowledge and was thus “not an appropriate document custodian.” ECF 197 at 5. However, in
 response to the Order’s requirement that RCN search and produce responsive documents from
 Mr. Holanda’s file, RCN served a 44-page supplemental privilege log listing more than 400
 responsive documents in Mr. Holanda’s email account (while producing only ten documents).
 Not surprisingly, RCN made no attempt to reconcile the existence of such a large trove of
 responsive documents with its prior representation to the Court about the limited scope of Mr.
 Holanda’s involvement. Plaintiffs are still in the process of reviewing RCN’s supplemental
 privilege log and intend to raise any specific deficiencies with RCN in the first instance.
 Because it is manifest that RCN has a primary strategy to invoke the attorney-client privilege
 improperly to avoid producing responsive and inculpatory documents, Plaintiffs reserve the right
 to bring additional privilege challenges to the Court’s attention.

         For these reasons and all those Plaintiffs have already articulated, see ECF 194, 200,
 Plaintiffs respectfully request that the Court ignore RCN’s ex parte spreadsheet, conduct its in
 camera privilege review on the basis of the documents RCN produced and the statements in
 RCN’s privilege log, and compel RCN to produce all documents it improperly withheld. 1
           1
          The Court should also reject RCN’s request that any production be made subject to an
 order pursuant to Fed. R. Evid. 502(d). That rule permits courts to limit privilege waivers when
 otherwise privileged information is disclosed in a case. Here, RCN’s documents are not
 privileged at all, so there is no waiver to consider. Indeed, the entry of a Rule 502(d) order in this
 circumstance would permit RCN to argue in another proceeding that the same documents at issue
 here are privileged even if the Court determines otherwise. Such a result would constitute an
 abuse of Rule 502(d).

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                                                       Respectfully submitted,

                                           MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                                        s/ Thomas R. Curtin

                                                        THOMAS R. CURTIN

 cc: All counsel (via ECF and e-mail)




 McElroy, Deutsch, Mulvaney & Carpenter, LLP
